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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL                      No. 12-md-2323 (AB)
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                             MDL No. 2323


THIS DOCUMENT RELATES TO:
                                              PETITION TO ESTABLISH
Plaintiffs’ Master Administrative Long-       ATTORNEY’S LIEN
Form Complaint and:

Floyd Little, et al. v. National Football
League, et al. (Plaintiff David Pivec and
Sharon Pivec ONLY)

Court File No. 12-cv-2219-AB


       Petitioner, Charles S. Zimmerman for Zimmerman Reed LLP (“Zimmerman

Reed”), pursuant to Minn. Stat. § 481.13 and pursuant to the executed Agreement for

Legal Services section titled “Termination” petitions and states as follows:

       1.      Petitioner is an attorney at law admitted to practice before the courts of

Minnesota, is a Court-appointed member of the Plaintiffs’ Steering Committee in the

above captioned MDL matter, and files this Petition to establish a lien for attorney’s fees

as set forth hereinafter.

       2.      On or about February 25, 2012, Petitioner was retained and employed by

the Plaintiffs, David Pivec and Sharon Pivec, pursuant to an agreement for legal services,

to pursue a claim for injuries and damages allegedly caused by the National Football

League’s conduct associated with football-related concussions, head, and brain injuries.
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       3.      The specifics of the agreement for legal services are as follows: If no

recovery (by settlement or trial) is obtained client will not owe a legal fee.              If

Zimmerman Reed obtains a settlement or judgment for Client, Client will pay to

Zimmerman Reed twenty percent (20%) of the gross recovery plus reimbursement of

expenses.

       4.      When Petitioner entered into contract with Plaintiffs, Petitioner entered into

the risk and expense of the litigation before any settlement discussion had been held.

Pursuant to this agreement, the Petitioner filed a Complaint on April 24, 2012 in this

matter on behalf of the Plaintiffs, which is the subject of the instant action.

       5.      From the date the Petitioner was authorized to proceed on behalf of the

Plaintiffs, the Petitioner has actively and diligently investigated, prepared, and pursued

Plaintiffs’ claims, and has taken all steps necessary to prosecute those claims, including,

but not limited to, the preparation and filing of complaints, correspondence and

communications with the client, preparation and review of client’s factual and legal

circumstances, retaining experts, drafting and providing client updates, analyzing

Plaintiff’s medical status and need for medical testing, etc.

       6.      Throughout this litigation, Petitioner has served and continues to serve on

the Plaintiffs’ Steering Committee, which has inured to the Plaintiffs’ benefit with

Zimmerman Reed’s representation.

       7.      The Plaintiffs have discharged the Petitioner as their attorney in this matter,

and it is expected that a new attorney will be pursuing representation of the Plaintiffs in

this action.
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          8.    Petitioner was not terminated due to any malfeasance or other improper

action.

          9.    The Petitioner claims the right to have a lien for attorney’s fees and

expenses established and enforced upon any sums to be derived from any settlement or

judgment obtained or to be obtained by Plaintiffs in this action.

          WHEREFORE, the Petitioner prays:

          1.    That an attorney’s lien be established;

          2.    That the amount of the lien be determined;

          3.    That the Court order that Petitioner be entitled to enforce an attorney’s lien

against the proceeds to be derived from any settlement or judgment in this action;

          4.    That the Defendant or the Defendant’s insurer be prohibited from paying to

the Plaintiffs any sums of money until said lien has been satisfied; and

          5.    For such other further relief as this Court deems just.

Dated: February 19, 2018                           Respectfully submitted,

                                                   ZIMMERMAN REED LLP


                                                    s/ Charles S. Zimmerman
                                                   Charles S. Zimmerman (#120054)
                                                   J. Gordon Rudd, Jr. (#222082)
                                                   Brian C. Gudmundson (#336695)
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                            CERTIFICATE OF SERVICE

       I hereby certify that I caused the foregoing Petition to Establish Attorney’s Lien to

be served via the Electronic Case Filing (ECF) system in the United States District Court

for the Eastern District of Pennsylvania, on all parties registered for CM/ECF in the

litigation.

Dated: February 19, 2018                         ZIMMERMAN REED LLP


                                                  s/ Charles S. Zimmerman
                                                 Charles S. Zimmerman (#120054)
                                                 J. Gordon Rudd, Jr. (#222082)
                                                 Brian C. Gudmundson (#336695)
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